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11   Attorneys for Plaintiff,
     THROOP, LLC
12
                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
14
                                 WESTERN DIVISION
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16   THROOP, LLC, a California limited        Case No. 2:19-cv-10604
     liability company,
17                                            COMPLAINT FOR PATENT
                  Plaintiff,                  INFRINGEMENT
18
         v.                                   DEMAND FOR JURY TRIAL
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     MICROSOFT CORPORATION, a
20   Washington corporation,
21                Defendant.
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                                      COMPLAINT
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1          Plaintiff Throop, LLC (“Throop” or “Plaintiff”) hereby alleges for its
2    Complaint for Patent Infringement against Microsoft Corporation (“Microsoft” or
3    “Defendant”) the following:
4                            I.    NATURE OF THE ACTION
5        1.       This is an action for patent infringement of United States Patent Nos.
6    7,035,897 (the “’897 Patent”) and 9,479,726 (the “’726 Patent”) (collectively, the
7    “Patents-in-Suit”) arising under the Patent Laws of the United States, 35 U.S.C. § 1,
8    et seq., seeking damages and other relief under 35 U.S.C. § 281, et seq.
9                                   II.   THE PARTIES
10       2.       Throop is a California limited liability company having a principal
11   place of business at 3580 Wilshire Blvd., Ste. 1460, Los Angeles, CA 90010.
12       3.       Defendant Microsoft Corporation is a corporation organized under the
13   laws of Washington with its principal place of business located at One Microsoft
14   Way, Redmond, WA 98052. Microsoft’s registered agent for Service of Process is
15   located at Corporation Service Company, d/b/a CSC – Lawyering Incorporating
16   Service, 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833.
17                         III.    JURISDICTION AND VENUE
18       4.       This is an action for patent infringement arising under the provisions of
19   the Patent Laws of the United States of America, Title 35, United States Code.
20       5.       This Court has subject matter jurisdiction over Throop’s claims under
21   28 U.S.C. §§ 1331 and 1338(a).
22       6.       This Court has personal jurisdiction over Defendant in this action
23   because Defendant has committed acts within the Central District of California
24   giving rise to this action and has established minimum contacts with this forum such
25   that the exercise of jurisdiction over the Defendant would not offend traditional
26   notions of fair play and substantial justice. The Defendant, directly and through
27   subsidiaries or intermediaries, has committed and continues to commit acts of
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                                          COMPLAINT
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1    infringement in this District by, among other things, offering to sell and selling
2    products and/or services that infringe the asserted patents.
3          7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),
4    (c) and/or 28 U.S.C. § 1400(b). Defendant transacts business within this District
5    and offers for sale in this District products that infringe the Patents-in-Suit.
6    Defendant is registered to do business in California. Defendant has a regular and
7    established place of business in Central District of California. For example,
8    Defendant has offices located at 13031 W Jefferson Blvd., #200, Los Angeles, CA
9    90094.
10                          IV.       THROOP’S PATENTS-IN-SUIT
11         8.     On April 25, 2006, the ’897 Patent, entitled “Wireless Augmented
12   Reality Communication System,” was duly and legally issued by the United States
13   Patent and Trademark Office. A true and correct copy of the ’897 Patent is attached
14   as Exhibit A.
15         9.     On October 25, 2016, the ’726 Patent, entitled “Wireless Augmented
16   Reality Communication System,” was duly and legally issued by the United States
17   Patent and Trademark Office. A true and correct copy of the ’726 Patent is attached
18   as Exhibit B.
19        10.     The inventors listed on the Patents-in-Suit were all engineers who
20   worked at NASA’s Jet Propulsion Laboratory. Founded by Caltech faculty, NASA's
21   Jet Propulsion Laboratory is the leading U.S. center for the robotic exploration of
22   the solar system.
23        11.     The ’897 Patent has been cited by twenty-four issued United States
24   patents as relevant prior art.
25        12.     Throop is the owner of the Patents-in-Suit asserted in this action and
26   has the exclusive right to sue and collect remedies for past, present, and future
27   infringement of the Patents-in-Suit.
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                                            COMPLAINT
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1                   V.    ACCUSED PRODUCTS AND/OR SERVICES
2       13.       Defendant manufactures, provides, uses, sells, offers for sale, imports,
3    and/or distributes infringing services for wearable devices, including, for example,
4    Microsoft HoloLens (collectively, “Accused Products and/or Services”).
5       14.       The Accused Products and/or Services offer the benefits of Plaintiff’s
6    technology by, for example, incorporating a highly integrated radio communication
7    system allowing for true two-way multimedia access via a wearable device.
8       15.       Defendant has had knowledge of the ’726 Patent and its infringement
9    since at least the filing of the Original Complaint in this action, or shortly thereafter,
10   including by way of this lawsuit. Defendant has had notice and/or knowledge of the
11   ’897 Patent and its infringement since at least December 2010, or shortly thereafter,
12   when Microsoft Corporation cited the ’897 Patent on an Information Disclosure
13   Statement on its own patent application (Application No. 12/969,148) that led to
14   issued U.S. Patent No. 8,898,310.
15            COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,035,897
16      16.       Throop reasserts and incorporates herein by reference the allegations of
17   all preceding paragraphs of this Complaint as if fully set forth herein.
18      17.       Defendant has infringed and continue to infringe at least claim 1 and
19   one or more of its dependents of the ’897 Patent under 35 U.S.C. § 271(a), literally
20   or under the doctrine of equivalents, by making, using, selling, and/or offering for
21   sale in the United States, and/or importing into the United States, the Accused
22   Products and/or Services.
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                                           COMPLAINT
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1       18.       For example, the Accused Products and/or Services meet all of the
2    claim limitations of claim 1 of the ’897 Patent, set forth below with claim language
3    in italics. To the extent the preamble is limiting, the Accused Products and/or
4    Services include [a] mobile access unit for use in a localized communications
5    system.
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16    https://www.microsoft.com/en-us/hololens#
17      19.       The Accused Products and/or Services include a video input configured
18   to receive real-time video information; a video output configured to provide real-
19   time video information; a wearable display connected to the video output; a codec
20   connected to the video input and video output; and a transceiver.
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                                         COMPLAINT
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1     https://www.microsoft.com/en-us/hololens#
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8     https://www.microsoft.com/en-us/hololens/hardware
9       20.      The Accused Products and/or Services include a transmitter connected
10   to the codec that is configured to transmit a data stream provided by the codec over
11   an upstream wireless communication link; and a receiver connected to the codec
12   that is configured to receive a data stream transmitted over a downstream wireless
13   communication link, which includes encoded real-time video.
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     https://www.microsoft.com/en-us/hololens/apps
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24   WiFi
     802.11ac 2x2
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26   Bluetooth
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28   USB
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                                        COMPLAINT
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1    USB Type-C

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9    https://www.microsoft.com/en-us/hololens/hardware
10      21.      The Accused Products and/or Services include wherein the codec is
11   configured to: encode real-time video information received from the video input;
12   and multiplex the encoded real-time video with other data to generate the data
13   stream provided by the codec to the transmitter; and wherein the codec is also
14   configured to: demultiplex the encoded real-time video from the data stream
15   provided to the codec by the receiver; and decode the encoded real-time video
16   information and provide the decoded real-time video information to the video
17   output.
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                                        COMPLAINT
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      https://www.youtube.com/watch?v=4QiGYtd3qNI
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21      22.       Defendant has committed acts of infringement without license or
22   authorization. Defendant knew or should have known that its actions would cause
23   direct and indirect infringement of the ’897 Patent. On information and belief,
24   Defendant acted with objective recklessness by proceeding despite an objective high
25   likelihood that its actions constituted infringement of a valid patent.
26      23.       Defendant is also liable under 35 U.S.C. § 271(b) for actively inducing
27   infringement and continuing to actively induce infringement. Defendant actively
28   induces and continues to induce its customers, distributors, end-users, vendors
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                                          COMPLAINT
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1    including customer-support and/or manufacturers to infringe the ’897 Patent. On
2    information and belief, Defendant possessed a specific intent to induce
3    infringement, and in fact did induce infringement, by engaging in affirmative acts
4    such as by selling and causing the Accused Products and/or Services to be
5    manufactured, by providing user guides, installation or instruction manuals, and
6    other training materials, by advertising and solicitation and otherwise providing
7    sales-related materials, and by instructing and/or demonstrating to customers,
8    distributers, end-users, vendors including customer-support and/or manufacturers
9    the normal operation of the Accused Products and/or Services that infringe the ’897
10   Patent. Defendant is aware and/or willfully blind that these affirmative acts infringe
11   and/or would induce infringement of the ’897 Patent, of which it had knowledge.
12      24.       Defendant is also liable under 35 U.S.C. § 271(c) for contributing to
13   and continuing to contribute to the infringement of the ’897 Patent by, among other
14   things, providing seamless external storage capability that operates as internal
15   storage in its Accused Products and/or Services and by encouraging, at a minimum,
16   customers, distributors, end-users, vendors including customer-support and/or
17   manufacturers in this District and elsewhere, to infringe the ’897 Patent. By
18   importing, exporting, manufacturing, distributing, selling, and/or providing the
19   Accused Products and/or Services for their intended use to customers, distributors,
20   end-users, vendors including customer-support and/or manufacturers, Defendant
21   has, in the past and continue to contribute to the infringement of one or more claims
22   of the ’897 Patent. The Accused Products and/or Services are material to the
23   inventions claimed in the ’897 Patent, has no substantial non-infringing uses, and
24   are known by Defendant (on information and belief) to be especially made or
25   especially adapted for use in infringing the ’897 Patent, and which are otherwise not
26   staple articles of commerce suitable for substantial non-infringing use. Defendant
27   are aware and/or willfully blind that these affirmative acts infringe and/or constitute
28   contributory infringement of the ’897 Patent, of which it had knowledge.
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                                          COMPLAINT
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1        25.       Defendant is liable for indirect infringement, i.e., both inducement and
2     contributory infringement, based on the direct infringement that is the result of
3     activities performed by customers, distributors, end-users, vendors including
4     customer-support and/or manufacturers who use all elements or perform all steps of
5     one or more claims of the ’897 Patent. For example, end users of Defendant’s
6     Accused Products and/or Services infringe, either directly or under the doctrine of
7     equivalents, one or more claims of the ’897 Patent (e.g., claim 1 and one or more of
8     its dependents). At a minimum, Defendant is liable for the indirect infringement of
9     claim 1 and one or more of its dependents of the ’897 Patent.
10       26.       Defendant will continue to infringe unless this Court enjoins Defendant
11    and its agents, servants, employees, representatives and all others acting in active
12    concert with it from infringing the ’897 Patent.
13       27.       Plaintiff has been damaged as a result of Defendant’s infringing
14    conduct. Defendant is, thus, liable to Plaintiff in an amount that adequately
15    compensates Plaintiff for Defendant’s infringement, which, by law, cannot be less
16    than a reasonable royalty, together with interest and costs as fixed by this Court
17    under 35 U.S.C. § 284.
18             COUNT II: INFRINGEMENT OF U.S. PATENT NO. 9,479,726
19       28.       Throop reasserts and incorporates herein by reference the allegations of
20    all preceding paragraphs of this Complaint as if fully set forth herein.
21       29.       Defendant has infringed and continues to infringe at least claims 1, 25
22    and one or more of its dependents of the ’726 Patent under 35 U.S.C. § 271(a),
23    literally or under the doctrine of equivalents, by making, using, selling, and/or
24    offering for sale in the United States, and/or importing into the United States, the
25    Accused Products and/or Services.
26       30.       Defendant has committed acts of infringement without license or
27    authorization. Defendant knew or should have known that its actions would cause
28    direct and indirect infringement of the ’726 Patent. On information and belief,
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                                           COMPLAINT
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1     Defendant acted with objective recklessness by proceeding despite an objective high
2     likelihood that its actions constituted infringement of a valid patent.
3        31.       Defendant is also liable under 35 U.S.C. § 271(b) for actively inducing
4     infringement and continuing to actively induce infringement. Defendant actively
5     induces and continues to induce its customers, distributors, end-users, vendors
6     including customer-support and/or manufacturers to infringe the ’726 Patent. On
7     information and belief, Defendant possessed a specific intent to induce
8     infringement, and in fact did induce infringement, by engaging in affirmative acts
9     such as by selling and causing the Accused Products and/or Services to be
10    manufactured, by providing user guides, installation or instruction manuals, and
11    other training materials, by advertising and solicitation and otherwise providing
12    sales-related materials, and by instructing and/or demonstrating to customers,
13    distributers, end-users, vendors including customer-support and/or manufacturers
14    the normal operation of the Accused Products and/or Services that infringe the ’897
15    Patent. Defendant is aware and/or willfully blind that these affirmative acts infringe
16    and/or would induce infringement of the ’726 Patent, of which it had knowledge.
17       32.       Defendant is also liable under 35 U.S.C. § 271(c) for contributing to
18    and continuing to contribute to the infringement of the ’726 Patent by, among other
19    things, providing seamless external storage capability that operates as internal
20    storage in its Accused Products and/or Services and by encouraging, at a minimum,
21    customers, distributors, end-users, vendors including customer-support and/or
22    manufacturers in this District and elsewhere, to infringe the ’726 Patent. By
23    importing, exporting, manufacturing, distributing, selling, and/or providing the
24    Accused Products and/or Services for their intended use to customers, distributors,
25    end-users, vendors including customer-support and/or manufacturers, Defendant
26    has, in the past and continue to contribute to the infringement of one or more claims
27    of the ’726 Patent. The Accused Products and/or Services are material to the
28    inventions claimed in the ’726 Patent, has no substantial non-infringing uses, and
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                                           COMPLAINT
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1     are known by Defendant (on information and belief) to be especially made or
2     especially adapted for use in infringing the ’726 Patent, and which are otherwise not
3     staple articles of commerce suitable for substantial non-infringing use. Defendant is
4     aware and/or willfully blind that these affirmative acts infringe and/or constitute
5     contributory infringement of the ’726 Patent, of which it had knowledge.
6        33.         Defendant is liable for indirect infringement, i.e., both inducement and
7     contributory infringement, based on the direct infringement that is the result of
8     activities performed by customers, distributors, end-users, vendors including
9     customer-support and/or manufacturers who use all elements or perform all steps of
10    one or more claims of the ’726 Patent. For example, end users of Defendant’s
11    Accused Products and/or Services infringe, either directly or under the doctrine of
12    equivalents, one or more claims of the ’726 Patent (e.g., claims 1, 25 and one or
13    more of its dependents). At a minimum, Defendant is liable for the indirect
14    infringement of claims 1, 25 and one or more of its dependents of the ’726 Patent.
15       34.         Defendant will continue to infringe unless this Court enjoins Defendant
16    and its agents, servants, employees, representatives and all others acting in active
17    concert with it from infringing the ’726 Patent.
18       35.         Plaintiff has been damaged as a result of Defendant’s infringing
19    conduct. Defendant is, thus, liable to Plaintiff in an amount that adequately
20    compensates Plaintiff for Defendant’s infringement, which, by law, cannot be less
21    than a reasonable royalty, together with interest and costs as fixed by this Court
22    under 35 U.S.C. § 284.
23                                   PRAYER FOR RELIEF
24             WHEREFORE, Plaintiff respectfully requests the following relief:
25             a)    A judgment that Defendant has infringed the Patents-in-Suit;
26          b)       An injunction barring Defendant and its officers, directors, agents,
27    servants, employees, affiliates, attorneys, and all others acting in privity or in
28    concert with them, and their parents, subsidiaries, divisions, successors and assigns,
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                                            COMPLAINT
     Case 2:19-cv-10604 Document 1 Filed 12/16/19 Page 13 of 14 Page ID #:13



1     from further acts of infringement of the Patents-in-Suit; alternatively, a judicial
2     decree that Defendant pay an ongoing royalty in an amount to be determined for
3     continued infringement after the date of judgment;
4           c)     An award of damages adequate to compensate for Defendant’s
5     infringement of the Patents-in-Suit, and in no event less than a reasonable royalty
6     for Defendant’s acts of infringement, including all pre-judgment and post-judgment
7     interest at the maximum rate permitted by law;
8           d)     An award of trebled damages under 35 U.S.C. § 284;
9           e)     A declaration that this case is exceptional under 35 U.S.C. § 285; and
10          f)     An award of Plaintiff’s costs and attorney’s fees under 35 U.S.C. § 285
11    and other applicable law; and any other remedy to which Plaintiff may be entitled.
12
13    Dated: December 16, 2019                ONE LLP
14
15                                            By: /s/ Nathaniel L. Dilger
                                                  Nathaniel L. Dilger
16                                                Deepali A. Brahmbhatt
17                                                John E. Lord

18                                                 Attorneys for Plaintiff,
19                                                 Throop, LLC

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                                           COMPLAINT
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1                              DEMAND FOR JURY TRIAL
2           Throop demands trial by jury on all claims and issues so triable.
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4     Dated: December 16, 2019              ONE LLP
5
6                                           By: /s/ Nathaniel L. Dilger
                                                Nathaniel L. Dilger
7                                               Deepali A. Brahmbhatt
8                                               John E. Lord

9                                                Attorneys for Plaintiff,
10                                               Throop, LLC

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